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     Exhibit 8

    United States District Court, District of Maryland
    Carrasco v. M&T Bank
    Case No.: 1:21-cv-00532




      Summary
      ▪ M&T Bank Visa Credit Account Payoff Certificate – Dated 3/23/2021




Official Evidence Filed by Plaintiff – Original copies are available for inspection upon request during trial or other pre-trial conferences.

Submitted: 3/23/2021
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M&TBank
                     Case 1:21-cv-00532-SAG Document 15-3 Filed 03/23/21 Page 2 of 2


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Severna Park Office                                                                                                FX                        MIX7


If you have any questions, please
call our Telephone Banking Center
        1-800-724-2440                               Account Profile (RCC) - #1

Today's Date:             Business Date:                Active
                                                                                                              Branch I
                                                                                                                            LIGHT AND REDWOOD
                                                                                                                                            6443
03/23/2021                 03/23/2021                   CREDIT REVOKED
                                                        TRIAD                                                 Branch Phone        (410) 545-2155


 Ti me : 11 :26 AM                                                      Oulllanding Payment Due       E::J               $49.00     04/13/2021

 Retail Credit Card Payment                                             Past Due Amounl
                                                                                                                    $2,017.08
 ****6414                            $2,017.08                          Pay To Zero
                                                                        Good Until Dale                             03/23/2021


                                                                        Tolal Credit Line                                           S3,500.00
  6325/03                       21                                      Tolal Cash Limil                                            S1 .050.00
                                                                        Available Cradil                                            $1 ,525.27
                                                                        Available Cash                                              S1 .050.00
                                                                        Current Outllanding Balance                                 $1 ,974 73

Duplicate Receipt                                                       0..-ndlng Alllhorlzalions

We appreciate your business,                                            Overlimil Amount

Thank you!



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